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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION



ANDREW H. WARREN,

              Plaintiff,

v.                                            CASE NO. 4:22cv302-RH-MAF

RON DESANTIS,

              Defendant.

________________________________________/


                            ORDER TO FILE DISCOVERY
                            REQUESTS AND RESPONSES


       The plaintiff must immediately file a complete copy of the discovery

requests and responses that will be the subject of today’s hearing.

       SO ORDERED on October 17, 2022.

                                       s/Robert L. Hinkle
                                       United States District Judge




Case No. 4:22cv302-RH-MAF
